        Case 1:22-cv-00993-MHC Document 1 Filed 03/10/22 Page 1 of 12




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

CODY KING,                             )
                                       )
      Plaintiff,                       )
                                       )       CIVIL ACTION
v.                                     )
                                       )       FILE No. _____________________
CONYERS VILLAGE                        )
PROPERTIES, LLC,                       )
                                       )
      Defendant.                       )

                                   COMPLAINT

      COMES NOW, CODY KING, by and through the undersigned counsel, and

files this, his Complaint against Defendant CONYERS VILLAGE PROPERTIES,

LLC pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.

(“ADA”) and the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”).

In support thereof, Plaintiff respectfully shows this Court as follows:

                         JURISDICTION AND VENUE

      1.     This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et

seq., based upon Defendant’s failure to remove physical barriers to access and

violations of Title III of the ADA.

      2.     Venue is proper in the federal District Court for the Northern District

                                           1
        Case 1:22-cv-00993-MHC Document 1 Filed 03/10/22 Page 2 of 12




of Georgia, Atlanta Division, as the parcel of real property at issue in this case is

located in Rockdale County, Georgia.

                                      PARTIES

      3.     Plaintiff CODY KING (hereinafter “Plaintiff”) is, and has been at all

times relevant to the instant matter, a natural person residing in Conyers, Georgia

(Rockdale County).

      4.     Plaintiff is a paraplegic and is disabled as defined by the ADA.

      5.     Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking and standing.

      6.     Plaintiff cannot walk and uses a wheelchair for mobility purposes.

      7.     Defendant CONYERS VILLAGE PROPERTIES, LLC (hereinafter

“Defendant”) is a Georgia limited liability company that transacts business in the

state of Georgia and within this judicial district.

      8.     Defendant may be properly served with process via its registered

agent for service, to wit: Thompson, O’Brien, Kemp & Nasuti, 2 Sun Court, Suite

400, Peachtree Corners, Georgia 30075.

                            FACTUAL ALLEGATIONS

      9.     On or about March 1, 2022, Plaintiff was a customer at “CBD


                                           2
        Case 1:22-cv-00993-MHC Document 1 Filed 03/10/22 Page 3 of 12




American Shaman,” a business located at 1706 Highway 138, Unit J, Conyers,

Georgia 30013.

      10.    Defendant is the owner or co-owner of the real property and

improvements that are the subject of this action. (The structures and improvements

situated upon said real property shall be referenced herein as the “Facility,” and

said real property shall be referenced herein as the “Property”).

      11.    Plaintiff lives approximately seven (7) miles from the Facility and

Property.

      12.    Plaintiff’s access to the businesses located at 1706 Highway 138,

Conyers, Georgia 30013 (Rockdale County Property Appraiser’s parcel number

075001012L), and/or full and equal enjoyment of the goods, services, foods,

drinks, facilities, privileges, advantages and/or accommodations offered therein

were denied and/or limited because of his disabilities, and he will be denied and/or

limited in the future unless and until Defendant is compelled to remove the

physical barriers to access and correct the ADA violations that exist at the Facility

and Property, including those set forth in this Complaint.

      13.    Plaintiff has visited the Facility and Property at least once before and

intends on revisiting the Facility and Property once the Facility and Property are

made accessible.


                                          3
        Case 1:22-cv-00993-MHC Document 1 Filed 03/10/22 Page 4 of 12




      14.    Plaintiff intends to revisit the Facility and Property to purchase goods

and/or services.

      15.    Plaintiff travelled to the Facility and Property as a customer and as an

advocate for the disabled, encountered the barriers to his access of the Facility and

Property that are detailed in this Complaint, engaged those barriers, suffered legal

harm and legal injury, and will continue to suffer such harm and injury as a result

of the illegal barriers to access present at the Facility and Property.

                               COUNT I
                   VIOLATIONS OF THE ADA AND ADAAG

      16.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      17.     The ADA provided places of public accommodation one and a half

years from its enactment to implement its requirements.

      18.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 (if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      19.    The Facility is a public accommodation and service establishment.

      20.    The Property is a public accommodation and service establishment.

      21.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

                                           4
        Case 1:22-cv-00993-MHC Document 1 Filed 03/10/22 Page 5 of 12




regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      22.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      23.    Liability for violations under Title III or the ADA falls on “any person

who owns, leases (or leases to), or operates a place of public accommodation.” 42

U.S.C. § 12182(a).

      24.    The Facility must be, but is not, in compliance with the ADA and

ADAAG.

      25.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

      26.     Plaintiff has attempted to, and has to the extent possible, accessed the

Facility and the Property in his capacity as a customer of the Facility and Property,

and as an advocate for the disabled, but could not fully do so because of his

disabilities resulting from the physical barriers to access, dangerous conditions and

ADA violations that exist at the Facility and Property that preclude and/or limit his

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,


                                          5
        Case 1:22-cv-00993-MHC Document 1 Filed 03/10/22 Page 6 of 12




conditions and ADA violations more specifically set forth in this Complaint.

      27.    Plaintiff intends to visit the Facility and Property again in the future as

a customer and as an advocate for the disabled in order to utilize all of the goods,

services, facilities, privileges, advantages and/or accommodations commonly

offered at the Facility and Property, but will be unable to fully do so because of his

disability and the physical barriers to access, dangerous conditions and ADA

violations that exist at the Facility and Property that preclude and/or limit his

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      28.    Defendant has discriminated against Plaintiff (and others with

disabilities) by denying his access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Facility

and Property, as prohibited by, and by failing to remove architectural barriers as

required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      29.    Defendant will continue to discriminate against Plaintiff and others

with disabilities unless and until Defendant is compelled to remove all

physical barriers that exist at the Facility and Property, including those specifically

set forth herein, and make the Facility and Property accessible to and usable by


                                           6
        Case 1:22-cv-00993-MHC Document 1 Filed 03/10/22 Page 7 of 12




Plaintiff and other persons with disabilities.

      30.    A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facility and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facility and Property include, but are not limited to:

      a.     There are no disabled accessible parking spaces on the Property

             that comply with section 502 of the 2010 ADAAG standards, in

             violation of section 208 of the 2010 ADAAG standards. In the

             alternative, the accessible parking space(s) on the Property are

             not located on the shortest accessible route to the tenant spaces

             of the Facility, are missing signage, are inadequately marked,

             do not adjoin an accessible route, in violation of sections

             206.2.1, 208.2, 208.3, 502.1, 502.4 and 502.6 of the 2010

             ADAAG standards.

      b.     The walking surfaces of the accessible route on the Property

             that leads to the sole accessible ramp providing access to the

             tenant spaces of the Facility have a slope in excess of 1:20 (one

             to twenty) and a cross-slope in excess of 1:48 (one to forty-


                                           7
 Case 1:22-cv-00993-MHC Document 1 Filed 03/10/22 Page 8 of 12




     eight), in violation of section 403.3 of the 2010 ADAAG

     standards. Further, the accessible route on the Property for

     disabled individuals does not follow the general circulation path

     provided for able-bodied individuals, and requires extensive

     travel within the vehicular way, in violation of section 206.3 of

     the 2010 ADAAG standards.

c.   The accessible ramp on the Property lacks finished edges (or

     edge protection), in violation of section 405.9 of the 2010

     ADAAG standards, and has a cross-slope in excess of 1:48 (one

     to forty-eight), in violation of section 405.3 of the 2010

     ADAAG standards.

d.   The accessible route that leads from the accessible ramp on the

     Property to the accessible entrances of the Facility have

     numerous areas of broken pavement resulting in vertical rises in

     excess of ¼” (one quarter inch), in violation of section 403.2 of

     the 2010 ADAAG standards, and a slope in excess of 1:20 (one

     to twenty), in violation of section 403.3 of the 2010 ADAAG

     standards.

e.   Upon information and good faith belief, Defendant fails to


                                 8
        Case 1:22-cv-00993-MHC Document 1 Filed 03/10/22 Page 9 of 12




             adhere to a policy, practice and procedure to ensure that all

             features and facilities at the Facility and Property are readily

             accessible to, and usable by, disabled individuals.

      31.    Without limitation, the above-described violations of the ADAAG

made it more difficult for Plaintiff to find and utilize a disabled accessible parking

space on the Property, more difficult and dangerous for Plaintiff to travel upon the

accessible route on the Property, and more difficult and dangerous for Plaintiff to

utilize the accessible ramp servicing the Property.

      32.    The violations enumerated above may not be a complete list of the

barriers, conditions or violations encountered by Plaintiff and/or which exist at the

Facility and Property.

      33.    Plaintiff requires an inspection of Facility and Property in order to

determine all of the discriminatory conditions present at the Facility and Property

in violation of the ADA.

      34.    Upon information and good faith belief, Defendant has modified the

Property after March 15, 2012, but made no effort within such modification to

comply with the 2010 ADAAG standards, or to increase accessibility for disabled

individuals, at the time of such modification(s).

      35.    The removal of the physical barriers, dangerous conditions and ADA


                                          9
       Case 1:22-cv-00993-MHC Document 1 Filed 03/10/22 Page 10 of 12




violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      36.    All of the violations alleged herein are readily achievable to modify

to bring the Facility and Property into compliance with the ADA.

      37.   Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because the nature and cost of the modifications are relatively low.

      38.   Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because Defendant has the financial resources to make the necessary

modifications.

      39.   In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

      40.   Plaintiff is without adequate remedy at law, is suffering irreparable

harm, and reasonably anticipates that he will continue to suffer irreparable harm

unless and until Defendant is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Facility and Property, including


                                         10
       Case 1:22-cv-00993-MHC Document 1 Filed 03/10/22 Page 11 of 12




those alleged herein.

      41.    Plaintiff’s requested relief serves the public interest.

      42.    The benefit to Plaintiff and the public of the relief outweighs any

resulting detriment to Defendant.

      43.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees

and costs of litigation from Defendant pursuant to 42 U.S.C. §§ 12188 and 12205.

      44.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to

grant injunctive relief to Plaintiff, including the issuance of an Order directing

Defendant to modify the Facility and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)    That the Court find Defendant in violation of the ADA and ADAAG;

      (b)    That the Court issue a permanent injunction enjoining Defendant from

             continuing its discriminatory practices;

      (c)    That the Court issue an Order requiring Defendant to (i) remove the

             physical barriers to access and (ii) alter the subject Facility and

             Property to make them readily accessible to, and useable by,

             individuals with disabilities to the extent required by the ADA;

      (d)    That the Court award Plaintiff’s counsel reasonable attorneys' fees,

             litigation expenses and costs; and


                                          11
       Case 1:22-cv-00993-MHC Document 1 Filed 03/10/22 Page 12 of 12




      (e)    That the Court grant such further relief as deemed just and equitable

             in light of the circumstances.

                                       Dated: March 10, 2022.

                                       Respectfully submitted,

                                       /s/Craig J. Ehrlich
                                       Craig J. Ehrlich
                                       Georgia Bar No. 242240
                                       The Law Office of Craig J. Ehrlich, LLC
                                       1123 Zonolite Road, N.E., Suite 7-B
                                       Atlanta, Georgia 30306
                                       Tel: (404) 365-4460
                                       Fax: (855) 415-2480
                                       craig@ehrlichlawoffice.com

        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.

                                       /s/Craig J. Ehrlich
                                       Craig J. Ehrlich




                                         12
